
By the Court.
It is a matter of discretion with a court, in what cases to direct a jury to find a special verdict, and a refusal to do so can -not be assigned as error. C. C. &amp; C. Railroad Co. v. Terry, 8 Ohio St. Rep. 570, 586. But the code provides, that “ in every action for the recovery of money only, or specific real property, the jury, in their discretion, may render a general or special verdict.” Section 276. In any such action in which the discretion might be exercised by stating conclusions of fact so as to present questions of law upon the decision of which the case would depend, a party has a right to have the jury instructed, that they may in their discretion render a special verdict; and a refusal to do so, will be error.
Judgment reversed.
